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    9                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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   11   PAVO SOLUTIONS, LLC                     Case No. 8:14-cv-01352-JLS-KES
   12                                           Honorable Josephine L. Staton
                    Plaintiff,
   13                                           JUDGMENT
   14         v.

   15   KINGSTON TECHNOLOGY
   16   COMPANY, INC.,

   17               Defendant.
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    1         A jury trial commenced in this case on March 4, 2020. On March 13, 2020,
    2   the jury returned a unanimous verdict finding infringement of claims 1, 4, and 24 of
    3   the ’544 patent, willful infringement, and damages in the amount of $7,515,327.40.
    4   Prior to the verdict, the Court granted Pavo’s motion for partial summary judgment
    5   of no unenforceability. (Doc. 199 at 6-9.) After the verdict, the Court also granted
    6   Pavo’s Rule 50(b) motion of no invalidity (Doc. 410 at 6-7) and granted in part
    7   Pavo’s motion for enhanced damages, awarding Pavo an enhancement of 50% of the
    8   compensatory damages assessed by the jury in the amount of $3,757,663.70. (Doc.
    9   419.) Finally, the Court awarded Pavo pre- and post-judgment interest. (Doc. 425.)
   10         Pursuant to Rule 58 of the Federal Rules of Civil Procedure and in accordance
   11   with the jury’s verdict, the Court’s orders, and the entirety of the record available to
   12   the Court, the Court hereby ORDERS and ENTERS JUDGMENT as follows:
   13         1. Defendant Kingston Technology Company, Inc. (“Kingston”) has
   14             infringed claims 1, 4, and 24 of U.S. Patent No. 6,926,544 (“’544 patent”);
   15         2. Kingston’s infringement was willful;
   16         3. Claims 1, 4, and 24 of the ’544 patent are not invalid;
   17         4. The ’544 patent is not unenforceable on the grounds of estoppel, waiver,
   18             equitable estoppel, unclean hands, failure to comply with 35 U.S.C. §§111
   19             or 116, or inequitable conduct.;
   20         5. Pavo is awarded compensatory damages from and against Kingston in the
   21             amount of $7,515,327.40;
   22         6. Pavo is awarded enhanced damages from and against Kingston of 50% of
   23             the compensatory damages for Kingston’s willful infringement in the
   24             amount of $3,757,663.70;
   25         7. Pavo is awarded pre-judgment interest applicable to the compensatory
   26             damages award, at the prime rate, from the date of first infringement, in
   27             May 2010, until March 16, 2021 (the date of entry of judgment), in the
   28             amount of $2,286,238.17;
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    1         8. Pursuant to 28 U.S.C. § 1961, the Court awards post-judgment interest
    2            applicable to the compensatory damages award, calculated in the manner
    3            set forth in 28 U.S.C. § 1961(a), from the date of entry of judgment until
    4            paid;
    5         9. Pursuant to Federal Rule of Civil Procedure 54(d), Local Rule 54-1, and
    6            28 U.S.C. § 1920, Pavo is the prevailing party in this case and shall recover
    7            its costs from Kingston, and Pavo is directed to file its proposed bill of
    8            costs; and
    9         10. All other relief requested by either party now pending before the Court
   10            and not specifically awarded herein is DENIED.
   11         All other requests for relief regarding the above-captioned case, including
   12   pursuant to Fed. R. Civ. P. 50 and 59 and 35 U.S.C. §§ 284 and 285, shall be filed
   13   within 28 days of this Judgment.
   14         The Clerk is directed to CLOSE the above-captioned case.
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   18   DATED: March 16, 2021

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   20                                           JOSEPHINE L. STATON
   21                                          Hon. Josephine L. Staton
   22                                          United States District Judge
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